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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


  BRENDAN HANEY, GERALD REED,
  and TROY SMITH, individually and on             Case No.: 3:18-cv-1011-TJC-LLL
  behalf of all others similarly situated,

                           Plaintiffs,

                  v.

  COSTA DEL MAR, INC., a Florida
  Corporation

                          Defendant.
  _______________________________________

          JOHN W. DAVIS’S TIME SENSITIVE MOTION TO APPEAR
            TELEPHONICALLY AT MAY 2, 2022 HEARING
       This is a time sensitive motion because the hearing on Plaintiff’s motion

 to require an appellate bond is set for May 2, 2022. Pursuant to Local Rule

 3.01(e), movant John W. Davis respectfully requests a ruling by April 26, 2022,

 so that his counsel will have time to make appropriate arrangements for the

 May 2, 2022, hearing if this motion is denied.

       Plaintiffs have moved for an appellate bond under Fed. R. Civ. P. 7 and

 8. DE190 (motion) and DE197 (supplement). The appealing objectors

 submitted their oppositions March 25, 2022. DE199 (Davis and Miorelli);

 DE198 (Valls). In order to conserve resources and eliminate needless

 duplication, objector John W. Davis and objector Mitchell George Miorelli filed

 a joint opposition. DE199. The Court set a hearing for May 2, 2022 to resolve



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 the motion. DE191 (ORDER setting in-person hearing on 190 Plaintiffs’ Time-

 Sensitive Motion for Appeal Bond for 5/2/2022 at 2:00 PM).

       For the reasons set forth here, and in the accompanying Declaration of

 Eric Alan Isaacson, objector John W. Davis requests that his counsel be

 permitted to attend the May 2, 2022, hearing telephonically, or by whatever

 other remote means the Court might prefer. Alternatively, since Mr. Davis and

 objector Mitchell George Miorelli filed a joint opposition to the bond motion, if

 the Court is disinclined to accept remote argument from Mr. Davis’s counsel,

 Mr. Davis requests that his counsel be excused from attendance and that Sam

 A. Miorelli be permitted to present argument on his behalf.

       Mr. Davis has two lawyers in this case, both admitted pro hac vice. As

 this case is on appeal, Davis’s counsel did not anticipate intensive motion

 practice before this Court. The bond motion was unexpected in scale: it asks

 this Court to impose a supersedeas bond under Fed. R. App. P. 8 to secure

 prospective attorneys’ fees and interest. DE190:12, et seq. The request is far

 higher than if it were limited to seeking a cost bond under Fed. R. App. P. 7 for

 the de minimis costs potentially recoverable under Fed. R. App. P. 39(c) and

 11th Cir. R. 39-1. See DE199:5-6 (ECF pp. 6-7) (Joint Opposition [to Appeal

 Bond Motion]). For either of Mr. Davis’s lawyers, the cost for travel and

 accommodations for to attend in person would far exceed the amount

 reasonably in controversy. See DE199:5-8.

       Davis’s lawyer C. Benjamin Nutley resides in Hawai’i; his physical

 presence at the hearing would require extensive travel. Davis’s lawyer Eric


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 Alan Isaacson, who is currently enrolled as a graduate student at the Harvard

 Divinity School in Cambridge, Massachusetts, also has an argument before the

 United States Court of Appeals in Boston, Massachusetts, that is calendared

 for the morning of May 3, 2022, the very day after the hearing in this Court set

 for the afternoon of May 2, 2022. See Declaration of Eric A. Isaacson filed

 herewith at ¶3. Travel logistics make it impossible for him to adequately

 prepare for and attend both hearings; indeed, attending a hearing on the

 afternoon of May 2 in Jacksonville, Florida, might prevent him from appearing

 before the First Circuit in Boston the next morning. Isaacson Decl. ¶¶4-5.

       Isaacson also has to deal with a full academic load as he endeavors to

 complete his graduate studies at the Harvard Divinity School in order to

 graduate on schedule in May 2022. Lecturer Lael Weinberger scheduled for

 May 6, 2022, and a public presentation on May 12, 2022. Isaacson also has

 three final papers due May 2, 2022, and an eight-hour take-home exam for a

 Harvard Law School course in which he is cross-registered that must be

 completed on a date between April 27, 2022, when his final MRPL project is

 due, and May 6, 2022, when he must sit for his MRPL oral examination.

       This Court has previously permitted Mr. Isaacson to appear

 telephonically for the hearing on the final-approval motion. See DE150

 (ENDORSED ORDER granting Objector John W. Davis’s motion for Eric Alan

 Isaacson to appear telephonically at the 4/20/2021 fairness hearing).

       Additionally, Mr. Davis filed his opposition to the bond motion jointly

 with another objector-appellant, Mitchell George Miorelli, who is represented


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 in this case by Sam A. Miorelli. See DE199, n.1. Therefore, if the Court is

 disinclined to accept remote argument from Mr. Davis’s counsel, Mr. Davis

 requests that his counsel be excused from attendance and that Sam A. Miorelli

 be permitted to present argument on his behalf.

                     LOCAL RULE 3.01(g) CERTIFICATION

       The undersigned certifies that I as counsel for John W. Davis conferred

 with counsel for Plaintiffs, Defendant, and Objectors regarding the relief

 sought herein. Counsel for Plaintiffs stated: “We believe that your presence

 will be helpful to the Court -- which is why the Court schedule[d] this hearing

 in-person. That is our position (which should be recited in your motion);

 however, we will defer to the Court as to its preference.” Counsel for Defendant

 stated: “Costa is not opposed.” Counsel for Objectors Mitchell George Miorelli

 and Austin Valls both indicated that they do not oppose this motion.



 Date: April 18, 2022                       Respectfully submitted,


                                            /s/ Eric Alan Isaacson
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